91 F.3d 130
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thurman Bradford HILL, Plaintiff-Appellant,v.Ron ANGELONE, Director of the Virginia Department ofCorrections, Defendant-Appellee.
    No. 96-6027.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 28, 1996.Decided July 18, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  John A. MacKenzie, Senior District Judge.  (CA-95-450-2)
      Thurman Bradford Hill, Appellant Pro Se.  Linwood Theodore Wells, Jr., Assistant Attorney General, Richmond, Virginia, for Appellee.
      E.D.Va.
      DISMISSED.
      Before HAMILTON, WILLIAMS, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Hill v. Angelone, No. CA-95-450-2 (E.D.Va. Dec. 15, 1995).  To the extent that the record on appeal contains transcripts of Appellant's trial and sentencing hearing, we grant his motion for review of those documents.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    